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                  EXHIBIT B
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LIVE




  LOCAL NEWS

  Banana duct-taped to wall sells for $120K at
  Miami’s Art Basel
  The masterpiece was created by Italian artist Maurizio Cattelan.
  Thomas Metevia, Digital Content Producer
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MIAMI, Fla. – You’ve heard of the Mona Lisa and American Gothic. Well, there’s a new piece
of art that has everyone going bananas. The best part? Anyone could re-create the
masterpiece.


The display called “The Comedian” is a banana duct-taped to a wall. Yes, you read that right.


The a-peeling art piece was created by Italian artist Maurizio Cattelan.



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You may remember this artist for his 18-karat-gold toilet titled “America." The $6-million
throne was stolen from England’s Blenheim Palace over the summer.


The banana sold for $120,000 at Miami’s Art Basel this week.


Emmanuel Perrotin, the gallery founder, told CBS News that Maurizio’s work is not just about
objects, but about how objects move through the world.


“Whether aﬃxed to the wall of an art fair booth or displayed on the cover of the New York
Post, his work forces us to question how value is placed on material goods,” he said.


Art lover Weezie Chandler said, “You can do anything and once you’re established you can
get away with it.”


One art lover said, “It’s mocking the art world. That’s what Maurizio Cattelan does.”


Some art connoisseurs believe the piece represents the art world and its wealth inequalities.
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Others will tell you to not think that deep.


Our opinions are spilt.




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